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                                       United States District Court,Eastern District of New York                                                    I       7-
UNITED STATES OF AMERICA                                                               ORDER SETTING CONDITIONS OF RELEASE
                                                                                       AND APPEARANCE BOND
                    V.


                                                           .Defendant.                 Case Number:               j (A ^1 ^(fS)
                                                                          RELEASE ORDER

     It is hereby ORDERED that the above-named defendant be released subject to the Standard Conditions ofRelease on the reverse and as follows:
     [ ] Upon Personal Recognizance Bond on his/lier promise to appear at all scheduled proceedings as required, or
              Upon Bond executed by the defendant in the amount ofS                                                    ,and       ^ H C                     li
               secured by[ ]financially responsible sureties listed below and/or [\^collateral set forth below.                   ^        7 . ^ ^t f!ic             17


                                                                  Additional Conditions of Release

     The Court finding that release under the Standard Conditions of Release on the reverse will not by themselves reasonably assure the
appearance ofthe defendant and/or the safety of other persons and the community,IT IS FURTHER ORDERED as follows:
[\/[ 1. The defendant must remain in and may not leave the following areas without Court permission: [v^New York City;[ ]Long Island, NY;
            []New York State;[ ]New Jersey;[^                      fUf        \                             travel to and from this Court and the permitted areas.
bi 2. The^fendant must^void all contact with the following persons or entities:                                                     t
[13. The defendant must avoid and not go to any oftlie following locations:, ^ w i                                                                                        .
[\fl 4. The defendant must surrender all passports to Pretrial Services by           t^ot obtain other passports or international travel documents,
[vj' 5. The defendant is placed under the supervision ofthe Pretrial Services Agency subject to the Special Conditions on the reverse and:
     M/a. is subject to random visits by a Pretrial Services officer at defendant's residence and/or place of work;
    [ b. must report [vg as directed by Pretrial Services or[ ]in person        times per            and/or[ ]by telephone      times per      .
    [ ] c. must undergo[]testing,[]evaluation and/or[ ]treatment for substance abuse, including alcoholism, as directed by Pretrial Services.
    [ 1 d. must undergo evaluation and treatment for mental health problems, as directed by Pretrial Services.
    M      is subject to the following location restriction program with location monitoring, as directed by Pretrial Services:
       [ 1 home incarceration: restricted to home at all times, except for attorney visits, court appearances and necessary medical treatment;
                   home detention: restricted to home at all times, except for attorney visits, court appearances, medical treatment, fb<^eligious services,
               [ ]employment,[]school or training,[^ther activities approved by Pretrial Services,[ ]
    [ ] curfew: restricted to home every day from                             to                   ,or [ ]as directed by Pretrial Services.
    [^ Defendant must pay all or part ofthe cost of any required testing, evaluation, treatment and/or location monitoring with personal funds,
            based upon ability to pay as determined by the Court and the Pretrial Services Agency, and/ or from available insurance.
rJi 6. Other Conditions:                               A ^ < (r          Awn."/jr."/is                         ^ \
            I. .               -J. ■   ^      I            7T~~7T~i777T~TT~TTT"/r~r~T7^~~J77w7~7~~nTiTTT~r7r7~r~TXT7T7Z7TT"^
                                                                         APPEARANCE BOND                                            /jrr.jr                      f
1, tlie undersigned defendant, and each surety who signs this bond, acknowledge that 1 have read this Appearance Bond and,and have either rea(fall ^
the other conditions ofrelease or have had those conditions explained. 1 fiMher aclmpwledge that 1 and my personal representatives,jointly and ^^ ^
severally, are bound to pay the United States of America the sum of S Y. /                             and that this obligation is secured with the below    1                (\M
interest in the following property ("Collateral") which 1 represent is/are free and clear of liens except as otherwise indicated:               fr r      c^
    [ leash deposited in tlie Registn^f the Court in the sum o^                       ^                                • ,              \y J'l \        /
                                                                             owned by                                             L r ta
    [>^ 1 also agree to execute a confession ofjudgment,j^rteage or lien in form approved by the U.S. Attorney which shall be duly filed with the
    proper local and state authorities on or before f' '                                                                 .
Each owner of tlie above Collateral agrees not to sell the property, allow further claims or encumbrances to be made against it, or do anything to
reduce its value while this Appearance Bond is in effect.
Fotfeiture ofthe Bond. This Appearance Bond may be forfeited if the defendant fails to comply with any ofthe conditions set forth above and on the
reverse. The defendant and a^-siirety who has signed this form also agree tliat the court may immediately order the amount of die bond surrendered
to the l^ted States,induing any security for the bond,if the defendant fails to comply with the above agreement. The court may also order a
jud^HMt of^rfeiture a^nsUhe defendant and against each surety for the entire amount ofthe bond,including any interest and costs.
                                                      Address:                                                                                                i ■ h^
                                           ,Surety

                                                      Address:                                                                                               ^
                                                  ^Address:
        f                                  , Surety
    I acknowledge that I am the defendant in this case and that I am aware of the conditions of release and of the penalties and sanctions set
forth on the front and reverse sides of this form.                                                      -


                                                                                                                                                   Signature ofDefendant
Release of the Defendant is hereby ordered on                               ^            20
  s/ PK
                                                       ,US^^J
                                                                                   Distribution:   Canary - Court     Pink - Pretrial Services     Goldenrod -Defendant
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                                             STANDARD CONDITIONS OF RELEASE

IT IS ORDERED that the defendant's release is subject to these conditions:
(1) The defendant must not violate any federal, state or local law while on release.
(2) The defendant must cooperate in the collection ofa DNA sample ifthe collection is authorized by 42 U.S.C. § 14135a.
(3) The defendant must advise the Court, the Pretrial Services office, defense Counsel and the U.S. Attorney in writing before making
    any change in address or telephone number.
(4) The defendant must appear in court as required and must surrender for service ofany sentence imposed as directed.
(5) The defendant must refrain from use or unlawful possession ofa narcotic drug or other controlled substances as defined in 21
     U.S.C. § 802, unless prescribed by a licensed medical practitioner.
(6) If the defendant fails to report as required to the Pretrial Services Agency, defendant may be subject to such random visits at
    his/her residence or work by a Pretrial Services Officer as may be necessary to verify his/her residence or place ofemployment in
    order to secure compliance with the order of release.
(7) The defendant must not possess a firearm, destructive device, or other weapon.
                  SPECIAL CONDITIONS OF RELEASE FOR TESTING,TREATMENT OR EVALUATION
                                               AND FOR LOCATION MONITORING
1. If the defendant fails to appear for any specified treatment or evaluation, defendant may be subject to such random visits at his/her
   residence or work by a Pretrial Services Officer as may be necessary to verify his/her residence or place ofemployment in order to
     secure compliance with the order of release.
2. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy ofprohibited substance screening
   or testing. Testing may be used with random frequency and may include urine testing, the wearing ofa sweat patch, a remote
   alcohol testing system, and/or any form of prohibited substance screening or testing, as determined by Pretrial Services.
3. If defendant is subject to a location restriction program or location monitoring, defendant must:
   (a) stay at his/her residence at all times except for approved activities and may not leave for approved activities without
        providing prior notice to Pretrial Services, except in cases of medical emergencies.
   (b) abide by all program requirements and instructions provided by Pretrial Services relating to the operation of monitoring
        technology. Unless specifically ordered by the court, Pretrial Services may require use of one ofthe following or comparable
        monitoring technology: Radio Frequency(RF)monitoring; Passive Global Positioning Satellite(GPS)monitoring; Active
        Global Positioning Satellite(GPS)monitoring (including "hybrid"(Active/Passive) GPS); Voice Recognition monitoring.
                                                    FORFEITURE OF THE BOND

This appearance bond may be forfeited if the defendant does not comply with the conditions of release set forth in this Order Setting
Conditions of Release and Bond. The court may immediately order the amount ofthe bond and any Collateral surrendered to the
United States ifthe defendant does not comply with the agreement. At the request ofthe United States, the court may order a judgment
offorfeiture against the defendant and each surety for the entire amount ofthe bond,including interest and costs.

                                                      RELEASE OF THE BOND
This appearance bond may be terminated at any time by the Court. This bond will be satisfied and the security will be released when
either:(1)the defendant is found not guilty on all charges, or(2)the defendant reports to serve a sentence.

                              ADVICE OF PENALTIES AND SANCTIONS TO THE DEFENDANT
Defendant is advised that violating any of the foregoing conditions of release may result in the immediate issuance of a warrant of
arrest, a revocation ofthe order ofrelease, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and
could result in imprisonment, a fine, or both.
While on release, if defendant commits a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.e., in addition to) to any other sentence defendant may receive.
It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation; tamper with a
witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt to
intimidate a witness, victim,juror,informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are
significantly more serious if they involve a killing or attempted killing.
If, after release, defendant knowingly fails to appear as the conditions of release require, or to surrender to serve a sentence, defendant
may be prosecuted for failing to appear or surrender and additional punishment may be imposed, whether or not the defendrat is
convicted ofthe pending charges. If defendant is convicted of:
(1)an offense punishable by death, life imprisonment, or imprisonment for a term offifteen years or more- defendant will be fined
not more tlian $250,000 or imprisoned for not more than 10 years, or both;
(2)an offense punishable by imprisonment for a term offive years or more,but less than fifteen years- defendant will be fined not
more than $250,000 or imprisoned for not more than five years, or both;
(3)any other felony - defendant will be fined not more than $250,000 or imprisoned not more than two years, or both;
(4)a misdemeanor- defendant will be fined not more than $100,000 or imprisoned not more than one year, or both.
A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence imposed. In addition, a
failure to appear or surrender may result in the forfeiture ofany bond posted.
                                                                      Distribution: Canary - Court   Pink - Pretrial Services   Goldenrod -Defendant
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                      ORDER SETTING CONDITIONS OF RELEASE AND BOND

 Defendant:                                                       Amount ofBond:$               ^ 'A ^<7
Each ofthe following additional surety or sureties acknowledges and agrees to pay the bond on the first
page ofthis Order Setting Conditions of Release and Bond and,to the extent indicated below,to
securing the bond with his/her/their interest in the property or properties described below:
                                            Address                               Date          Acknowledged Before


                                                                                                               SMJ




Surety:                     -A<,
                                                                                                        fhl
                                                                                                               SMJ
Surety:

                                                                                                             USMJ
Surety:

                                                                                                             USMJ
Surety:

                                                                                                             USMJ
Surety:



Signed and Acknowledged
by all the above sureties
                                                      ,20                                                    USMJ.
before me on




The bond shall be secured by the interest ofthe surety in the following property or properties:

                                                              7

Owned by:                          d    J                           0



Premises located at


Owned by:


Premises located at


Owned by:
